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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X
STRIKE 3 HOLDINGS, LLC,

                        Plaintiff,
                                                         ORDER
             - against -
                                                 20 Civ. 10737 (NRB)
JOHN DOE subscriber assigned
IP address 100.2.212.59,

                     Defendant.
---------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


        WHEREAS plaintiff Strike 3 Holdings, LLC filed a Motion for

Leave to Serve a Third Party Subpoena on December 28, 2020 (ECF

No. 6) (the “Motion”); and

        WHEREAS the Court finds that there is good cause to grant

the relief requested in the Motion based on plaintiff’s need to

serve    a   third-party   subpoena   upon   Verizon    Fios,    defendant’s

Internet Service Provider (“ISP”), to ascertain the identity of

the defendant in this case; it is hereby

        ORDERED that plaintiff’s Motion is granted to the extent

provided below; and it is further

        ORDERED that plaintiff may serve the ISP with a subpoena

under Federal Rule of Civil Procedure 45 seeking information

sufficient to identify the Doe defendant, including his or her

name and address; and it is further
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     ORDERED that plaintiff may also serve a Rule 45 subpoena

upon any intermediary ISP that may be identified in response to

a subpoena as providing internet services to the defendant; and

it is further

     ORDERED that, if and when an ISP is served with a subpoena,

the ISP shall give written notice to any affected subscribers,

and such notice shall inform the subscribers of their right to

challenge the subpoena in this Court; and it is further

     ORDERED that if the ISP or defendant wishes to modify or

quash a subpoena, such party must do so within forty-five (45)

days of the date of service of the subpoena; and it is further

     ORDERED that if defendant wishes to litigate a subpoena

anonymously, defendant must file a motion with this Court for

permission to do so within this 45-day period; and it is further

     ORDERED    that       the   ISP   may   not   turn    over    defendant’s

identifying information to plaintiff during this 45-day period,

and, if defendant has moved to quash or to proceed anonymously,

the ISP may not turn over defendant’s information until the

motion is resolved; and it is further

     ORDERED    that   a    defendant   or   ISP   who    moves   to   quash   or

modify a subpoena, or to proceed anonymously, shall at the same

time as his or her filing also notify the relevant ISP or ISPs

so that the ISP or ISPs are on notice not to release any of the




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defendant’s       contact   information      to   plaintiff     until   after   the

Court rules on the motion; and it is further

      ORDERED that, following the 45-day period, the ISP shall

have 10 days to produce information responsive to the subpoena

to plaintiff, except for information pertaining to any defendant

with a pending motion to modify or quash the subpoena, or to

proceed anonymously; and it is further

      ORDERED      that,    if   plaintiff    files    an     amended   complaint

identifying       defendant,     plaintiff    shall    submit    such   complaint

under seal to the Court.           Defendant shall have 30 days from the

date of service of that complaint to file any applications with

the Court under seal; and it is further

      ORDERED that subpoenas authorized by this Order and issued

pursuant thereto shall be deemed appropriate court orders under

47   U.S.C.   §    551.     In    particular,     47   U.S.C.    §   551(c)(2)(B)

provides as follows:

      (c) Disclosure of personally identifiable information

      (2) A cable operator may disclose such information if the
      disclosure is--

      (B) subject to subsection (h) of this section, made
      pursuant to a court order authorizing such disclosure, if
      the subscriber is notified of such order by the person to
      whom the order is directed. . . ;

and it is further




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      ORDERED     that    the    ISP    shall     preserve         any   subpoenaed

information     pending    the   resolution      of    any    timely      motion    to

quash; and it is further

      ORDERED that plaintiff shall reimburse any ISP who responds

to this subpoena for the cost incurred for each IP address look-

up,   including    notifying     the   relevant       subscribers;       and   it   is

further

      ORDERED     that    plaintiff     may     only    use        the   information

disclosed for the purpose of litigating the instant case; and it

is further

      ORDERED    that    plaintiff     shall    provide      the    subpoenaed      ISP

with a copy of this Order.



Dated:       New York, New York
             December 30, 2020



                                                    NAOMI REICE BUCHWALD
                                                UNITED STATES DISTRICT JUDGE




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